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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  EDVIN RUSIS, HENRY GERRITS, PHIL                        1:18-cv-08434 (VEC)
  MCGONEGAL, DAVID HO ENG, BRIAN
  HAUPT, PHILIP MONSON, CLAUDIA
  ZIEGLER, SALLY GEHRING, and JOHN
  MASON, individually and on behalf of all other
  similarly situated individuals,

                 Plaintiffs,
         v.

  INTERNATIONAL BUSINESS
  MACHINES CORP.

                 Defendant.


     NOTICE OF DEFENDANT INTERNATIONAL BUSINESS MACHINES
 CORPORATION’S MOTION FOR SUMMARY JUDGMENT AS TO ADEA WAIVER
          OPT-INS AND ARBITRATION AGREEMENT OPT-INS

       Under Federal Rule of Civil Procedure 56, Defendant International Business Machines

Corporation moves this Court for summary judgment as to two groups of Opt-Ins who signed

separation agreements in exchange for severance: (1) 11 Opt-Ins who signed agreements with

full ADEA waivers: Anne Bellew, Steven Black, Demostenes Gonzalez, Mark Grill, Peter

Kondis, Walter Bayerle, Phillip Emma, Rose Kapor, Brian Schaaf, Eric Selcov, and Nancy

Odom; and (2) 15 Opt-Ins who each admit that they separated in a resource action and in

exchange for severance they signed a separation agreement, which were standard agreements

with an individual arbitration provision and a class and collective action waiver: Robert Bees,

David Cabassa, Dayle Feingold, Craig Feldhak, Michael Hamilton, Bryan Mitchell, Oscar

Molina, Michael Morris, Mark Perillo, Torrey Price, Steven Richard, Rodney Sassaman, Amelia

Voglino, Robert West, and Yvette Wilson.
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Dated: December 21, 2021              JONES DAY
New York, New York
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